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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                            CRIMINAL ACTION NO.
      v.                                    1:21-CR-143-ELR-CCB

VICTOR HILL,

      Defendant.


                                          ORDER

      This matter is before the Court for consideration of Defendant’s unopposed

motion an additional 60 days within which to file pretrial motions. (Doc. 15). For

good cause shown, the Court GRANTS the motion and will afford Defendant

until July 12, 2021, to file pretrial motions followed by a subsequent pretrial

conference scheduled for Wednesday, July 14, 2021, at 9:30 A.M. The pretrial

conference will be conducted by video using the Zoom platform. Counsel will be

sent instructions prior to the hearing.

      IT IS HEREBY ORDERED that the period between the date of the motion

to continue, May 10, 2021, and the date of the pretrial conference, July 14, 2021,

shall be excluded pursuant to the Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and

(B)(iv). The Court finds that the extension is necessary because counsel for
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Defendant needs additional time to review the discovery materials and the

forthcoming discovery the Government is expected to produce before determining

whether pretrial motions are appropriate, and the Government will need time to

review any filed motions in preparation for the pretrial conference. Therefore, the

ends of justice served by granting the continuance outweigh the best interest of

the public and the Defendant in a speedy trial.

      IT IS SO ORDERED, this 11th day of May, 2021.




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